          Case 13-50364-tnw                      Doc 1         Filed 02/19/13 Entered 02/19/13 16:02:46                                      Desc Main
                                                               Document      Page 1 of 9
B 5 (Official Form 5) (12/07)

                 UNITED STATES BANKRUPTCY COURT
                                                                                                                                   INVOLUNTARY
                                  Eastern District
                               __________  Districtof of
                                                      Kentucky
                                                         __________                                                                  PETITION
 IN RE (Name of Debtor – If Individual: Last, First, Middle)                                    ALL OTHER NAMES used by debtor in the last 8 years
                                                                                                (Include married, maiden, and trade names.)
 Trinity Coal Corporation

 Last four digits of Social-Security or other Individual’s Tax-I.D. No./Complete EIN
 (If more than one, state all.):
 XX-XXXXXXX
 STREET ADDRESS OF DEBTOR (No. and street, city, state, and zip code)                           MAILING ADDRESS OF DEBTOR (If different from street address)

 4978 Teays Valley Road
 Scott Depot, WV

 COUNTY OF RESIDENCE OR PRINCIPAL PLACE OF BUSINESS
 Putnam
                                                                                 ZIP CODE                                                                          ZIP CODE
                                                                               25560

 LOCATION OF PRINCIPAL ASSETS OF BUSINESS DEBTOR (If different from previously listed addresses)
  Various locations throughout Kentucky and West Virginia
 CHAPTER OF BANKRUPTCY CODE UNDER WHICH PETITION IS FILED

                         Chapter 7         ✔ Chapter 11
                                            

                                                   INFORMATION REGARDING DEBTOR (Check applicable boxes)

 Nature of Debts                                                                Type of Debtor                                         Nature of Business
 (Check one box.)                                                           (Form of Organization)                                      (Check one box.)
                                                                Individual (Includes Joint Debtor)                      Health Care Business
 Petitioners believe:                                                                                                    Single Asset Real Estate as defined in
                                                             ✔
                                                                Corporation (Includes LLC and LLP)
                                                                                                                          11 U.S.C. § 101(51)(B)
      Debts are primarily consumer debts
                                                                Partnership                                             Railroad
                                                                Other (If debtor is not one of the above entities,      Stockbroker
 ✔
      Debts are primarily business debts
                                                                 check this box and state type of entity below.)         Commodity Broker
                                                                                                                         Clearing Bank
                                                             _________________________________________                  ✔
                                                                                                                         Other

                                  VENUE                                                                               FILING FEE (Check one box)

     Debtor has been domiciled or has had a residence, principal                         ✔ Full Filing Fee attached
      place of business, or principal assets in the District for 180
      days immediately preceding the date of this petition or for                            Petitioner is a child support creditor or its representative, and the form
      a longer part of such 180 days than in any other District.                              specified in § 304(g) of the Bankruptcy Reform Act of 1994 is attached.
                                                                                          [If a child support creditor or its representative is a petitioner, and if the
 ✔ A bankruptcy case concerning debtor’s affiliate, general                              petitioner files the form specified in § 304(g) of the Bankruptcy Reform Act of
      partner or partnership is pending in this District.                                 1994, no fee is required.]

                                 PENDING BANKRUPTCY CASE FILED BY OR AGAINST ANY PARTNER
                         OR AFFILIATE OF THIS DEBTOR (Report information for any additional cases on attached sheets.)
 Name of Debtor                                   Case Number                                            Date
 SEE ATTACHMENT
 Relationship                                                District                                                   Judge

                                             ALLEGATIONS
                                          (Check applicable boxes)                                                                     COURT USE ONLY

 1.   ✔Petitioner (s) are eligible to file this petition pursuant to 11 U.S.C. § 303 (b).
 2.   ✔The debtor is a person against whom an order for relief may be entered under title 11 of the United
        States Code.
 3.a. ✔The debtor is generally not paying such debtor’s debts as they become due, unless such debts are
        the subject of a bona fide dispute as to liability or amount;
                                                             or
   b.  Within 120 days preceding the filing of this petition, a custodian, other than a trustee receiver, or
         agent appointed or authorized to take charge of less than substantially all of the property of the
         debtor for the purpose of enforcing a lien against such property, was appointed or took possession.
Case 13-50364-tnw   Doc 1   Filed 02/19/13 Entered 02/19/13 16:02:46   Desc Main
                            Document      Page 2 of 9




                                                                          2/19/13




                                                                           2/19/13




                                                                            2/19/13
Case 13-50364-tnw   Doc 1   Filed 02/19/13 Entered 02/19/13 16:02:46   Desc Main
                            Document      Page 3 of 9




                                                                           2/19/13

                                 2/19/13




                             2/19/13
Case 13-50364-tnw   Doc 1   Filed 02/19/13 Entered 02/19/13 16:02:46   Desc Main
                            Document      Page 4 of 9
Case 13-50364-tnw   Doc 1   Filed 02/19/13 Entered 02/19/13 16:02:46   Desc Main
                            Document      Page 5 of 9




                                                                           2/19/13
                              2/19/13
Case 13-50364-tnw   Doc 1   Filed 02/19/13 Entered 02/19/13 16:02:46   Desc Main
                            Document      Page 6 of 9
Case 13-50364-tnw   Doc 1   Filed 02/19/13 Entered 02/19/13 16:02:46   Desc Main
                            Document      Page 7 of 9




  12,824,722.58
Case 13-50364-tnw   Doc 1   Filed 02/19/13 Entered 02/19/13 16:02:46   Desc Main
                            Document      Page 8 of 9
                                                 Attachment to the Involuntary Chapter 11 Petition


Debtor                          Case Number    Date                 Relationship   District                                   Judge
Banner Coal Terminal LLC        Pending         February 19, 2013   Affiliate      Eastern District of Kentucky               Pending
Bear Fork Resources LLC         Pending         February 19, 2013   Affiliate      Eastern District of Kentucky               Pending
Deep Water Resources LLC        Pending         February 19, 2013   Affiliate      Eastern District of Kentucky               Pending
Falcon Resources LLC            Pending         February 19, 2013   Affiliate      Eastern District of Kentucky               Pending
Frasure Creek Mining            13-50335-tnw    February 14, 2013   Affiliate      Eastern District of Kentucky (Lexington)   Chief Judge Wise
Hughes Creek Terminal LLC       Pending         February 19, 2013   Affiliate      Eastern District of Kentucky               Pending
Levisa Fork Resources LLc       Pending         February 19, 2013   Affiliate      Eastern District of Kentucky               Pending
                                                                                                                                                                     Case 13-50364-tnw




Little Elk Mining Company LLC   Pending         February 19, 2013   Affiliate      Eastern District of Kentucky               Pending
North Springs Resources LLC     Pending         February 19, 2013   Affiliate      Eastern District of Kentucky               Pending
Prater Branch Resources LLc     Pending         February 19, 2013   Affiliate      Eastern District of Kentucky               Pending
                                                                                                                                                                     Doc 1




RMG, Inc.                       Pending         February 19, 2013   Affiliate      Eastern District of Kentucky               Pending
Trinity Coal Corporation        Pending         February 19, 2013   Affiliate      Eastern District of Kentucky               Pending
Trinity Coal Marketing LLC      Pending         February 19, 2013   Affiliate      Eastern District of Kentucky               Pending
Trinity Coal Partners LLC       Pending         February 19, 2013   Affiliate      Eastern District of Kentucky               Pending
Trinity Parent Corporation      Pending         February 19, 2013   Affiliate      Eastern District of Kentucky               Pending
                                                                                                                                                 Document




Trinity RMG Holdings, LLC       Pending         February 19, 2013   Affiliate      Eastern District of Kentucky               Pending
                                                                                                                                                               Page 9 of 9
                                                                                                                                                 Filed 02/19/13 Entered 02/19/13 16:02:46
                                                                                                                                                                     Desc Main
